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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
ROSE HILL CUMBERLAND
PRESBYTERIAN CHURCH PLAINTIFF
VS. NO. 4:23-CV-00335 LPR
CHURCH MUTUAL
INSURANCE COMPANY SI DEFENDANT

PLAINTIFF’S REPLY TO DEFENDANT CHURCH MUTUAL’S
RESPONSE TO PLAINTIFF’S MOTION
TO ORDER DEFENDANT TO DEFEND
PLAINTIFF WITH BRIEF INCORPORATED

Comes the Plaintiff, Rose Hill Cumberland Presbyterian Church “Rose Hill”, and for its
reply to Defendant Church Mutual’s response to Plaintiff's motion to order Defendant to defend
Plaintiff with brief incorporated, states:

da Defendant must be confused. Defendant has already accepted liability in this case
and paid Plaintiff $128,672.52 for the claim. The disputed $115,067.57 is the amount Service
Restoration is suing Plaintiff for, and Defendant refuses to pay. See Exhibit A, Service Finance
v. Rose Hill Complaint, paragraph 9. Defendant is collaterally estopped from now changing
positions.

Zi Furthermore, Plaintiff files this motion since Defendant may seek a stay of this
litigation pending the resolution of the litigation between Plaintiff and Service Restoration in
Drew County Circuit Court. Defendant should be ordered to hire an attorney to represent

Plaintiff or pay Plaintiff's current attorney if this litigation is stayed.
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> That the Plaintiff's motion to defend may be moot once a ruling on Plaintiff's
motion for summary judgment is issued.

WHEREFORE, Plaintiff, Rose Hill Cumberland Presbyterian Church, requests this Court
grant its motion to order Defendant to defend Plaintiff and for all other proper relief, including

attorney’s fees.

Respectfully submitted,

John Ogles

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IN THE CIRCUIT COURT OF DREW COUNTY, ARKANSAS

CIVIL DIVISION
SERVICE RESTORATION INC. PLAINTIFF
VS. cASENO.C\/-'A AAD 8-3
ROSE HILL CUMBERLAND
PRESBYTERIAN CHURCH DEFENDANT
COMPLAINT

Plaintiff Service Restoration Inc. (d/b/a Service Restoration USA), for its Complaint
against Defendant Rose Hill Cumberland Presbyterian Church states and alleges the following:

1 Plaintiff (“Service Restoration”) is a Minnesota corporation registered with the
Arkansas Secretary of State as a foreign corporation. Plaintiff is in the business of providing
emergency disaster cleanup and restoration services to property owners.

2. This case arises from a time-and-materials contract between Service Restoration
and Defendant Rose Hill Cumberland Presbyterian Church for restoration services at Rose Hill’s
church property at 2133 Highway 83 North, Monticello, Drew County, Arkansas. A copy of the
contract is attached hereto and incorporated herein as Exhibit 1.

a. This Court has jurisdiction over the subject matter of Service Restoration’s
Complaint and over the parties herein under Ark. Code Ann. § 16-13-201. Venue is proper in

this Court under Ark. Code Ann. § 16-60-111.
4, On July 27, 2022, a church building belonging to Rose Hill Cumberland

Presbyterian Church (hereinafter, “Rose Hill”) sustained considerable damage due to flooding

EXHIBIT __

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and water infiltration caused by broken plumbing. Rose Hill immediately contacted its property
and casualty insurer, Church Mutual Insurance, S.I., to start a claim for assistance in mitigating
the damages and loss and for restoration services to the property. Church Mutual opened a claim
file for Rose Hill and assigned it claim number 001-01-251075.

6. On time-and-materials contracts signed by Jacob Hayes on Rose Hill’s behalf,
Service Restoration commenced work on or about July 27, 2022. Service Restoration performed
water mitigation, mold removal, contents restoration and storage services for several weeks, until
approximately October 3, 2022. Service Restoration completed the project with sampling,
laboratory testing, and reporting on mold and asbestos levels in November 2022.

7. Upon completion of the project Service Restoration submitted four invoices to
Rose Hill and Church Mutual for paymeat for services rendered. The invoices are attached
hereto and incorporated herein as Exhibits 2 through 5. The total of the invoices was
$238,740.09.

9. Church Mutual issued payment to Rose Hill and Service Restoration in the
amount of $128,672.52. Rose Hill withheld $5,000.00 from this payment and forwarded the
balance of $123,672.52 to Service Restoration. Rose Hill continues to carry a balance on its
account with Service Restoration in the amount of $115,067.57.

10. Service Restoration timely filed its mechanics and materialmen’s lien against

Rose Hill’s property and made demand on Rose Hill for the full amount of its invoices.

Count 1 — Breach of Contract against Plaintiff
11. Service Restoration and Rose Hill entered a valid, enforceable contract for

emergency disaster mitigation and restoration services at Rose Hill’s facility in Monticello,

Arkansas. A copy of the contract is attached as Exhibit 1.

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12. Service Restoration fully performed on all of its contractual obligations and
invoiced Rose Hill according to the terms and prices Rose Hill agreed to pay Service Restoration
for its services.

13. Rose Hill has breached its contract with Service Restoration by failing to pay
Service Restoration’s invoices when due.

14. As a result of Rose Hill’s breach of contract Service Restoration sustained
damages in the amount of $115,067.57 plus its costs and attorney fees incurred as a result of
having to bring this action.

WHEREFORE, Plaintiff Service Restoration Inc. prays that this Court enter judgment in
its favor against Defendant Rose Hill Cumberland Presbyterian Church in the amount of
$115,067.57, plus its costs and a reasonable attorney fee incurred as a result of having to bring
this cause of action to collect on its open account.

Respectfully submitted,
SERVICE RESTORATION INC.

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